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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

JASON TOWNS                                                                          PLAINTIFF

V.                                                    CIVIL ACTION NO. 4:19-CV-70-SA-JMV

MELVIN HILSON and
SORRELL B. PERRY                                                                  DEFENDANTS

                             ORDER AND DEFAULT JUDGMENT

       On May 2, 2019, Jason Towns initiated this action by filing his Complaint [1] against the

Mississippi Department of Corrections (“MDOC”), MDOC Commissioner Pelicia Hall, the

Mississippi State Penitentiary (“MSP”), MSP Superintendent Marshal Turner, MSP Deputy

Warden Lee Simon, and numerous MSP Correctional Officers. Two of the correctional officers

named in the Complaint [1] were Melvin Hilson and Sorrell B. Perry.

       The Complaint [1] alleges that Towns, while an inmate of MDOC housed at the Mississippi

State Penitentiary in Parchman, Mississippi, was assaulted by correctional officers, including

Hilson and Perry. On March 16, 2020, the Court issued an Order and Memorandum Opinion [28],

wherein, based upon Eleventh Amendment immunity, “Towns’ claims against MDOC, MDOC

Commissioner Pelicia Hall, MSP, MSP Superintendent Marshal Turner, MSP Deputy Warden Lee

Simon, and all official capacity claims against Officers Eugene Shorter, Derrick Sanders, Sorrell

Perry, Charles Wilson, Condarro Frieson, Melvin Hilson, and Isaac Scott [were] dismissed without

prejudice.” The Court specifically ordered, however, that “Towns shall be permitted to proceed on

his individual capacity claims[.]” [28].

       The Plaintiff completed service of process on Hilson by way of personal service on July

10, 2020. See [43]. Service was effectuated on Perry on July 22, 2020, when the process server left

the summons and a copy of the Complaint with his mother, Kim Perry, at his residence. See [44].
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Despite being served with process in compliance with the Federal Rules of Civil Procedure, neither

Hilson nor Perry has filed an answer or otherwise appeared in this case. On September 3, 2020,

the Clerk of this Court entered default against Hilson and Perry. See [51, 52].

       Rule 55 of the Federal Rules of Civil Procedure authorizes a district court to enter a default

judgment against a person who has failed to plead or otherwise defend a lawsuit filed against them.

See Fed. R. Civ. P. 55. Here, the record reflects that both of these Defendants have been served

with process but have not answered or otherwise appeared in this case. Because the Plaintiff has

complied with all prerequisites as set forth in the Federal Rules of Civil Procedure, the Court finds

that judgment should be entered in the Plaintiff’s favor against Melvin Hilson and Sorrell B. Perry.

       Accordingly, judgment is hereby entered in the Plaintiff’s favor against Melvin Hilson and

Sorrell B. Perry in their individual capacity, as to liability only. The Court will hold a separate

hearing to determine the appropriate amount of damages to award against the defaulted

Defendants. Plaintiff’s counsel is instructed to contact the Court within five (5) days to schedule a

hearing on damages.

       SO ORDERED, this the 20th day of October, 2020.



                                                      /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE




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